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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 16-654V
                                    Filed: December 7, 2016
                                         UNPUBLISHED

****************************
LISA PICKER,                            *
                                        *
                    Petitioner,         *      Damages Decision Based on Proffer;
v.                                      *      Influenza;
                                        *      Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                     *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
Mary Coffey, Coffey & Nichols, LLC, St. Louis, MO, for petitioner.
Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On June 2, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following receipt of her October 8, 2014 influenza vaccination.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

        On October 31, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for SIRVA. On December 7, 2016, respondent filed a proffer
on award of compensation (“Proffer”) indicating petitioner should be awarded
$130,000.00. Proffer at 1. In the Proffer, respondent represented that petitioner agrees


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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with the proffered award. Based on the record as a whole, the undersigned finds that
petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $130,000.00 in the form of a check payable to
petitioner, Lisa Picker. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS

LISA PICKER,                                    )
                                                )
               Petitioner,                      )     No. 16-654V
                                                )     Chief Special Master
       v.                                       )     Nora Beth Dorsey
                                                )     ECF
SECRETARY OF HEALTH                             )
AND HUMAN SERVICES,                             )
                                                )
               Respondent.                      )
                                                )

         RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Compensation for Vaccine Injury-Related Items

       On October 31, 2016, the Chief Special Master issued a Ruling on Entitlement

finding that petitioner was entitled to vaccine compensation for her Shoulder Injury Related

to Vaccine Administration (“SIRVA”). Respondent proffers that based on the evidence of

record, petitioner should be awarded $130,000.00. This amount represents all elements

of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a)(1);

15(a)(3)(A); and 15(a)(4). Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be

made through a lump sum payment as described below, and request that the Chief Special

Master’s decision and the Court’s judgment award the following: 1




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for
future medical expenses, future lost earnings, and future pain and suffering.
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       A lump sum payment of $130,000.00, in the form of a check payable to
       petitioner, Lisa Picker. This amount accounts for all elements of
       compensation under 42 U.S.C. § 300aa-15(a) to which petitioner would be
       entitled.

Petitioner is a competent adult. Evidence of guardianship is not required in this case.


                                             Respectfully submitted,

                                             BENJAMIN C. MIZER
                                             Principal Deputy Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             CATHARINE E. REEVES
                                             Acting Deputy Director
                                             Torts Branch, Civil Division

                                             VORIS E. JOHNSON
                                             Senior Trial Attorney
                                             Torts Branch, Civil Division

                                             s/Linda S. Renzi
                                             LINDA S. RENZI
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DATE: December 7, 2016
